             Case 2:25-cv-00244-LK         Document 262        Filed 03/21/25      Page 1 of 2




 1                                                                               District Judge Lauren King

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 7                                UNITED STATES DISTRICT COURT FOR THE
                                    WESTERN DISTRICT OF WASHINGTON
 8                                            AT SEATTLE

 9   STATE OF WASHINGTON, et al.,
                                                        CASE NO. 2:25-cv-00244-LJK
10                           Plaintiffs,
                                                        NOTICE OF APPEAL
                             v.
11
     DONALD J. TRUMP, in his official capacity as
     President of the United States, et al.,
12
                             Defendants.
13

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                                           NOTICE OF APPEAL
16
             PLEASE TAKE NOTICE that all Defendants in the above-captioned case hereby appeal to the
17   United States Court of Appeals for the Ninth Circuit from this Court’s February 28, 2025, Order
18   Granting in Part and Denying in Part Motion for Preliminary Injunction (ECF No. 233); and this
19   Court’s March 17, 2025 Order Denying Plaintiffs’ Motion for Contempt and Attorney’s Fees and
20   Granting Plaintiffs’ Motion for Expedited Discovery (ECF No. 258).
21

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23
      Notice of Appeal                                                              U.S. DEPARTMENT OF JUSTICE
24    2:25-cv-00244-LK - 1                                                 CIVIL DIVISION, F EDERAL P ROGRAMS BRANCH
                                                                                         1100 L STREET, NW
                                                                                      WASHINGTON, DC 20005
                                                                                            202-305-0845
             Case 2:25-cv-00244-LK         Document 262       Filed 03/21/25       Page 2 of 2




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     DATED this 21st day of March, 2025.
 3                                              Respectfully submitted,
 4                                              YAAKOV M. ROTH
                                                Acting Assistant Attorney General
 5                                              Civil Division
 6                                              MICHELLE BENNETT
                                                Assistant Branch Director
 7
                                                /s/ Christian S. Daniel
 8                                              VINITA B. ANDRAPALLIYAL
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10                                              United States Department of Justice
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14                                              Attorneys for Defendants

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      Notice of Appeal                                                              U.S. DEPARTMENT OF JUSTICE
24    2:25-cv-00244-LK - 2                                                 CIVIL DIVISION, F EDERAL P ROGRAMS BRANCH
                                                                                         1100 L STREET, NW
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